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 1   HEATHER E. WILLIAMS, #122664
     Federal Defender
 2   DOUGLAS BEEVERS, Bar #288639
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   LUIS MEJIA-CALDERON
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )               No.    CR. S-12-00039 TLN
                                     )
12                  Plaintiff,       )               STIPULATION AND ORDER
                                     )               TO CONTINUE STATUS CONFERENCE
13        v.                         )
                                     )
14   LUIS MEJIA-CALDERON, et al.,    )               Date:     June 20, 2013
                                     )               Time:     9:30 a.m.
15                  Defendants.      )               Judge:    Hon. Troy L. Nunley
                                     )
16   _______________________________ )
17
18          The parties request that the status conference in this case be continued from April 12,
19   2013, to June 20, 2013 at 9:30 a.m. They stipulate that the time between April 12, 2013 and
20   June 20, 2013 should be excluded from the calculation of time under the Speedy Trial Act.
21   The parties stipulate that the ends of justice are served by the Court excluding such time, so
22   that counsel for the defendant may have reasonable time necessary for effective preparation,
23   taking into account the exercise of due diligence. 18 U.S.C. §3161(h)(7)(B)(iv). Specifically,
24   counsel needs additional time investigate the facts of the case, review discovery, and to
25   negotiate a resolution to this matter. The parties stipulate and agree that the interests of justice
26   served by granting this continuance outweigh the best interests of the public and the
27   defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(B)(iv).
28
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 1   Dated:    May 17, 2013                          Respectfully submitted,
 2                                                   HEATHER E. WILLIAMS
                                                     Federal Defender
 3
                                                     /s/ Douglas Beevers
 4                                                   DOUGLAS BEEVERS
                                                     Assistant Federal Defender
 5                                                   Attorney for Defendant
                                                     LUIS MEJIA-CALDERON
 6
 7
     Dated:    May 17, 2013                          /s/ Mark Reichel
 8                                                   MARK REICHEL
                                                     Attorney for Defendant
 9                                                   JOSE ALFREDO HERNANDEZ-GARCIA
10
11   Dated:    May 17, 2013                          BENJAMIN B. WAGNER
                                                     United States Attorney
12
13                                                   /s/ Michael Beckwith
                                                     Michael Beckwith
14                                                   Assistant United States Attorney
15
16
                                                 ORDER
17
            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
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     status conference presently set for April 12, 2013, be continued to June 20, 2013, at 9:30 a.m.
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     Based on the representation of counsel and good cause appearing therefrom, the Court hereby
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     finds that the ends of justice to be served by granting a continuance outweigh the best
21
     interests of the public and the defendant in a speedy trial. It is ordered that time from the date
22
     of this Order, to and including, the June 20, 2013, status conference shall be excluded from
23
     computation of time within which the trial of this matter must be commenced under the
24
     Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.
25
26
     Dated:    May 17, 2013
27
28
                                                              Troy L. Nunley
                                                              United States District Judge
     Stip and Order                                 -2-
